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                     UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF PENNSYLVANIA


     CODY SCHMICK,                              :
           Plaintiff                            :
                                                :
             v.                                 : CIVIL NO. 1:15-CV-01118
                                                :
     VERDE ENERGY USA, INC.,                    :
           Defendant                            :



                                        ORDER

             AND NOW, this 1st day of December 2015, upon notification that the parties

settled this case, it is ORDERED that this action is dismissed without costs and without

prejudice to the right, upon good cause shown within thirty (30) days, to reinstate the

action if the settlement is not consummated.

             The Clerk of Court shall close this file.


                                               /s/ William W. Caldwell
                                               William W. Caldwell
                                               United States District Judge
